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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

John Lewert
                                       Plaintiff,
v.                                                       Case No.: 1:14−cv−04787
                                                         Honorable Elaine E. Bucklo
P.F. Chang's China Bistro, Inc.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 10, 2019:


        MINUTE entry before the Honorable Elaine E. Bucklo: A stipulation of voluntary
dismissal has been filed. Plaintiffs' claims are hereby dismissed with prejudice as to
Plaintiffs Lewert and Kosner and without prejudice as to the claims of any absent class
members. All pending dates before this court are stricken. Civil case terminated. Mailed
notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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